                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                       )
 et al.,                                            )
                                                    )
                Plaintiffs and                      )
                Counterclaim Defendants,            )
                                                    )
 v.                                                 )         Case No. 4:16-cv-02163
                                                    )
 PEOPLE FOR THE ETHICAL                             )
 TREATMENT OF ANIMALS, INC., et al.,                )
                                                    )
                Defendants and                      )
                Counterclaim Plaintiffs.            )

                                     [PROPOSED] ORDER

         Before the Court is the Consent Motion for Modification of Second Amended Case

Management Order brought by Counterclaim Plaintiffs, People for the Ethical Treatment of

Animals, Inc. and Angela Scott a/k/a Angela G. Cagnasso. IT IS HEREBY ORDERED that the

motion is GRANTED as follows:

         IT IS ORDERED that the Second Amended Case Management Order is hereby

modified, in Section I.2(a), to provide: “All parties shall disclose all expert witnesses and shall

provide the Reports required by Rule 26(a)(2)(B), Fed. R. Civ. P., no later than February 15,

2019.”

         IT IS FURTHER ORDERED that no other deadlines or provisions in the Second

Amended Case Management Order shall be affected by this modification.




Date: __________________________                        _________________________
                                                        CATHERINE D. PERRY
                                                        UNITED STATES DISTRICT JUDGE
